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                                          UNITED STATES DISTRICT COURT
                                      FOR THE NORTHERN DISTRICT OF'ILLINOIS
                                                EASTERN DIVISION



               ELIZ ABETH AGUILERA, individually and                    Case   No. 1:18-cv-03550
               on behalf of herself and all others similarly
               situated.,                                               Hon. Edmond E. Chang
                              Plaintiff,

                       vs.

               NuWave, LLC,


                              Defendant.




                                              AGREED PROTECTIVE ORDER

                       The parties to this Agreed Protective Order have agreed to the terms of this Order;

               accordingly, it is ORDERED:

                       1.     Scope.    All materials produced or adduced in the course of discovery, including

               initial disclosures,   responses   to discovery   requests, deposition testimony and exhibits, and

               information derived directly therefrom (hereinafter collectively "documents"), shall be subject to

               this Order concerning Confidential Information as defined below. This Order is subject to the

               Local Rules of this District and the Federal Rules of Civil Procedure on matters of procedure and

               calculation of time periods.

                       2.     Confidential Information. As used in this Order, o'Confidential Information"

               means information designated as "CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER" by

               the producing party that falls within one or more of the following categories: (a) information

               prohibited from disclosure by statute; (b) information that reveals trade secrets; (c) research,

               technical, commercial or financial information that the party has maintained as confidential; (d)
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medical information conceming any individual; (e) personal identity information; (f) income tax

returns (including attached schedules and forms),W-2 forms and 1099 forms; or (g) personnel or

employment records of a person who is not a party to the case.l Information or documents that

are available to the public may not be designated as Confidential Information.

       3.      Designation.

               (a) A party may designate a document as Confidential Information for
protection under this Order by placing or affixing the words "CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER" on the document and on all copies in a manner that will not interfere

with the legibility of the document. As used in this Order, "copies" includes electronic images,

duplicates, extracts, summaries or descriptions that contain the Confidential Information. The

maTking "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" shall be applied prior to

or at the time of the documents are produced or               disclosed. Applying    the   marking

"CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" to a document does not mean that

the document has any status or protection by statute or otherwise except to the extent and for the

purposes of this Order. Any copies that are made of any documents maTked      "CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER" shall also be so marked, except that indices, electronic

databases or lists   of documents that do not contain substantial portions or images of the text of

marked documents and do not otherwise disclose the substance of the Confidential Information

are not required to be marked.




I Ifprotection is sought for any other category of information, the additional category shall be
described in paragraph 2 with the additional language redlined to show the change in the
proposed Order.
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                  (b)      The designation   of a   document as Confidential Information        is a
certification by an attorney or a party appearing pro se that the document contains Confidential

Information as defined in this Order.z

          4.      Depositions. Unless all parties agree on the record at the time the deposition

testimony is taken, all deposition testimony taken in this case shall be treated as Confidential

Information until the expiration of the following: No later than the fourteenth day after the

transcript is delivered to any party or the witness, and in no event later than 60 days after the

testimony was given. Within this time period, a party may serve a Notice of Designation to all

parties   of   record as   to specific portions of the testimony that are designated    Confidential

Information, and thereafter only those portions identified in the Notice of Designation shall be

protected by the terms of this Order. The failure to serve a timely Notice of Designation shall

waive any designation of testimony taken in that deposition as Conlidential Information, unless

otherwise ordered by the Court.

          5.      Protection of Confidential Material.

                  (a)      General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in subparagraph

(b) for any pu{pose whatsoever other than in this litigation, including any appeal thereof. In      a


putative class action, Confidential Information may be disclosed only to the named plaintiff(s)

and not to any other member of the putative class unless and     until a class including the putative

member has been certified.


2 An attorney who reviews the documents and designates them as "CONFIDENTIAL -
SUBJECT TO PROTECTIVE ORDER" must be admitted to the Bar of at least one state but
need not be admified to practice in the Northern District of   Illinois unless the lawyer is appearing
generally in the case on behalf of a party. By designating documents confidential pursuant to this
Order, counsel submits to the jurisdiction and sanctions of this Court on the subject matter of the
designation.
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             (b)    Limited Third-Party Disclosures. The parties and counsel for the parties

shall not disclose or permit the disclosure of any Confidential Information to any third person

or entity except as set forth in   subparagraphs (1)-(9). Subject   to these requirements,   the

following categories of persons may be allowed to review Confidential Information:

             (1)    Counsel. Counsel for the parties and employees of counsel who have
                    responsibility for the'action;

             Q)     Parties. Individual parties and employees of aparty but only to the extent
                    counsel determines in good faith that the employee's assistance is
                    reasonably necessary to the conduct of the litigation in which the
                    information is disclosed;

             (3)    The Court and its personnel;

             (4)    Court Reporters and Recorders. Court reporters and recorders      engaged
                    for depositions;

             (s)    Contractors. Those persons specifically engaged for the limited purpose
                    of making copies of documents or organizing or processing documents,
                    including outside vendors hired to process electronically stored
                    documents;

             (6)    Consultants and Experts. Consultants, investigators, or experts
                    employed by the parties or counsel for the parties to assist in the
                    preparation and trial of this action but only after such persons have
                    completed the certification contained in Attachment A, Acknowledgment
                    of Understanding and Agreement to Be Bound;

             (7)    Witnesses at depositions. During their depositions, witnesses in this
                    action to whom disclosure is reasonably necessary. Witnesses shall not
                    retain a copy of documents containing Confidential Information, except
                    witnesses may receive a copy of all exhibits marked at their depositions in
                    connection with review of the transcripts. Pages of transcribed deposition
                    testimony or exhibits to depositions that are designated as Confidential
                    Information pursuant to the process set out in this Order must be
                    separately bound by the court reporter and may not be disclosed to anyone
                    except as permitted under this Order.

             (8)    Author or recipient. The author or recipient of the document (not
                     including a person who received the document in the course of litigation);
                     and

             (e)     Others by Consent. Other persons only by written consent           of   the
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                        producing party or upon order of the Court and on such conditions as may
                        be agreed or ordered.

               (c)      Control of Documents. Counsel for the parties shall make reasonable

efforts to prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel

shall maintain the originals of the forms signed by persons acknowledging their obligations

under this Order for a period of three years after the termination of the case.

       6.      Inadvertent Failure      to   Designate.   An     inadvertent failure   to   designate    a


document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even      if   inadvertent, waives any protection for

deposition testimony.   If a party designates a document   as Confidential Information after      it   was

initially produced, the receivingparty, on notification of the designation, must make       a reasonable


effort to assure that the document is treated in accordance with the provisions of this Order. No

party shall be found to have violated this Order for failing to maintain the confidentiality of

material during a time when that material has not been designated Confidential Information, even

where the failure    to so designate was inadvertent and where the material is              subsequently

designated Confi dential Information.

       7.      Filing of Confidential Information. This Order does not, by itself, authorize the

filing of any document under seal. Any party wishing to file a document designated                      as

Confidential Information in connection with a motion, brief or other submission to the Court

must comply with L.R.26.2.

       8.      No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that             it
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requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

       g.      Challenges   by a Party to Designation as Confidential Information.              The

designation of any material or document as Confidential Information is subject to challenge by

any party. The following procedure shall apply to any such challenge.

               (a)     Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis for

its belief that the confidentiality designation was not proper and must give the designating party

an opportunity to review the designated material, to reconsider the designation, and,   if no change

in designation is offered, to explain the basis for the designation. The designating party must

respond to the challenge within five (5) business days.

               (b)     Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements       of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party.Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information under the terms of this Order.

        10.    Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this Order or

any action or agreement of a party under this Order limits the Court's power to make orders

concerning the disclosure of documents produced in discovery or at trial.



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       11.       Use of Confidential Documents or Information at Trial. Nothing in this Order

shall be construed to affect the use of any document, material, or information at any trial or

hearing.   A   party that intends to present or that anticipates that another party may present

Confidential information at a hearing or trial shall bring that issue to the Court's and parties'

attention   by motion or in a pretrial      memorandum without disclosing         the   Confidential

Information. The Court may thereafter make such orders as are necessary to govem the use of

such documents or information at trial.

       12.       Confidential Information Subpoenaed         or   Ordered Produced        in   Other

Litigation.

                 (a) If a receiving party is served with a subpoena     or an order issued in other

litigation that would compel disclosure of any material or document designated in this action     as


Confidential Information, the receiving party must so notiff the designating party, in writing,

immediately and in no event more than three court days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.

                 (b)    The receiving party also must immediately inform in writing the party

who caused the subpoena or order to issue in the other litigation that some or all of the material

covered by the subpoena or order is the subject of this Order. In addition, the receiving party

must deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.

                 (c)    The purpose of imposing these duties is to alert the interested persons to

the existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its
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Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receivingparty in this action to disobey a lawful directive from another court. The

obligations set forth in this paragraph remain in effect while the party has in its possession,

custody or control Confidential Information by the other party to this case.

          13.   Obligations on Conclusion of Litigation.

                (a)    Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further

appeal.

                 (b)    Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information

and documents maTked "CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" under this

Order, including copies as defined in paragraph 3(a), shall be returned to the producing party

unless: (1) the document has been offered into evidence or filed without restriction as to

disclosure; (2) the parties agree to destruction to the extent practicable in lieu of return;3 or (3) as

to documents bearing the notations, summations, or other mental impressions of the receiving

party, that party elects to destroy the documents and certifies to the producing party that it has

done so.

                (c)     Retention    of Work      Product and one set         of Filed Documents.
Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

attorney work product, including an index that refers or relates          to designated Confidential


3 The parties may choose to agree that the receiving party shall destroy documents containing
Confidential Information and certify the fact of destruction, and that the receiving party shall not
be required to locate, isolate and retum e-mails (including attachments to e-mails) that may
include Confidential Information, or Confidential Information contained in deposition transcripts
or drafts or final expert reports.
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Information so long as that work product does not duplicate verbatim substantial portions of

Confidential Information, and (2) one complete set       of all   documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to be

protected under this Order. An attomey may use his or her work product in subsequent litigation,

provided that its use does not disclose or use Confidential Information.

                (d)    Deletion of Documents fiIed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of the

Court.

         15.    Order Subject to Modification. This Order shall be subject to modification by

the Court on its own initiative or on motion of a party or any other person with standing

conceming the subject matter.

         16. No Prior Judicial Determination. This Order is entered based on the
representations and agreements    of the parties and for the purpose of facilitating    discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by bounsel or the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

         17.    Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.

So Ordered,                                                           ,d/r^t 0.C%
Dated:
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                                                                     HON. EDMOND E. CHANG
                                                                     United States District Judge



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                                       ATTACHMENT A

                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION



ELIZ ABETH AGUILERA, individually and                   Case   No. 1:18-cv-03550
on behalf of herself and all others similarly
situated.,                                              Hon. Edmond E. Chang
               Plaintiff,

        vs.

NuWave, LLC,


               Defendant.




                                  ACKNOWLEDGEMENT
                                        AND
                                AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Confidentiality Order

dated

                                                in the above-captioned action and attached hereto,

understands the terms thereof, and agrees to be bound by its terms. The undersigned submits to

the jurisdiction of the United States District Court for the Northern District of   Illinois in matters

relating to the Confidentiality Order and understands that the terms of the Confidentiality Order

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obligate him/her to use materials designated as Confidential Information in accordance with the

Order solely for the purposes of the above-captioned action, and not to disclose any such

Confidential Information to any other person, firm or concem.




        The undersigned acknowledges that violation of the Confidentiality Order may result in

penalties for contempt of court.




Name:

Job Title:

Employer:

Business Address:




Date:                                Signature:




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